   20-50805-rbk Doc#135 Filed 08/02/21 Entered 08/02/21 06:31:19 Ntc/Hrg BK intp/20lrg
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                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                Bankruptcy Case
                                                                                20−50805−rbk
                                                                           No.:
                                                                   Chapter No.: 11
                                                                         Judge: Ronald B. King
IN RE: KrisJenn Ranch, LLC , Debtor(s)




                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

          San Antonio Courtroom 1, Hipolito F. Garcia Fed Bldg & Courthouse, 615 E. Houston St., San
     at   Antonio, TX 78205

     on   9/1/21 at 09:30 AM

     Hearing to Consider and Act Upon the Following: (IF TIME ESTIMATE EXCEEDS 20 MINUTES,
     PLEASE E−MAIL DEANNA CASTLEBERRY AT: deanna_castleberry@txwb.uscourts.gov) (Related
     Document(s): 121 Application to Employ Ken Hoerster and Texas Ranches For Sale, Real Estate Broker filed
     by Ronald J Smeberg for Debtor KrisJenn Ranch, LLC. Hearing Scheduled For 9/1/2021 at 9:30 AM at SA
     Courtroom 1 (Castleberry, Deanna)


Dated: 8/2/21
                                                          Barry D. Knight
                                                          Clerk, U. S. Bankruptcy Court




                                                                                          [Hearing Notice (BK)] [NtchrgBKap20]
